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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

CHRISTY RICHARDSON,                       }                 Case No. 3:17-cv-00005
PLAINTIFF                                 }
                                          }
v.                                        }
                                          }
CHOICE LOAN OF GEORGIA, INC.              }
DEFENDANT                                 }
_________________________________________/


                              NOTICE OF PENDING SETTLEMENT


       Plaintiff Christy Richardson, by and through undersigned counsel, hereby submits this Notice of

Pending Settlement and states that the parties have reached a settlement with regards to this case and

are presently drafting, finalizing, and executing the formal settlement documents. Upon full execution

of the same, the parties will file the appropriate dismissal documents with the court.


       Respectfully submitted this 21st day of February, 2017,


             By Plaintiff's attorney: /s/ Nicholas Michael Murado
                                     Nicholas Michael Murado
                                     Florida Bar # 102769
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                                     Miramar, Florida, 33025
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                                     E-mail: muradolaw@gmail.com
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing has been electronically filed via CM/ECF and sent to all

interested parties.
